

People v Lewis (2017 NY Slip Op 08757)





People v Lewis


2017 NY Slip Op 08757


Decided on December 14, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2017

108220

[*1]THE PEOPLE OF THE STATE OF NEW YORK, Respondent,
vMARK LEWIS, Appellant.

Calendar Date: October 24, 2017

Before: Garry, J.P., Egan Jr., Mulvey, Aarons and Rumsey, JJ.


Henry C. Meier, Delmar, for appellant.
P. David Soares, District Attorney, Albany (Christopher D. Horn of counsel), for respondent.



MEMORANDUM AND ORDER
Appeal from a judgment of the County Court of Albany County (Lynch, J.), rendered January 14, 2016, convicting defendant upon his plea of guilty of the crime of sexual abuse in the first degree.
In satisfaction of a superior court information, defendant pleaded guilty to sexual abuse in the first degree and waived his right to appeal. County Court sentenced him, in accordance with the terms of the plea agreement, to a prison term of six years followed by seven years of postrelease supervision. Defendant appeals.
Appellate counsel seeks to be relieved of his assignment of representing defendant on the ground that there are no nonfrivolous issues to be raised on appeal. Based upon our review of the record and counsel's brief, we agree. Accordingly,
the judgment is affirmed and counsel's request for leave to withdraw is granted (see People v Cruwys , 113 AD2d 979, 980 [1985], lv denied  67 NY2d 650 [1986]; see generally  People v Stokes , 95 NY2d 633 [2001]).
Garry, J.P., Egan Jr., Mulvey, Aarons and Rumsey, JJ., concur.
ORDERED that the judgment is affirmed, and application to be relieved of assignment [*2]granted.








